                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                    CRIMINAL MINUTE SHEET
USA v.       Seann Patrick Pietila                                                   Mag. Judge: Maarten Vermaat

    CASE NUMBER                      DATE                 TIME (begin/end)           PLACE                  INTERPRETER


      2:22-mj-29                    6/16/2023             4:47 pm - 5:05 pm         Marquette


APPEARANCES:
Government:                                              Defendant:                                  Counsel Designation:
Theodore Greeley                                         Beth LaCosse                                CJA Appointment


          OFFENSE LEVEL                                 CHARGING DOCUMENT/COUNTS                        CHARGING DOCUMENT
                                                                                                      Read
Felony                                      Complaint                                                 Reading Waived

             TYPE OF HEARING                                    DOCUMENTS                              CHANGE OF PLEA

✔   First Appearance                                Defendant's Rights                       Guilty Plea to Count(s)
    Arraignment:                                    Waiver of                                of the
         mute              nolo contendre           Consent to Mag. Judge for
                           guilty                                                            Count(s) to be dismissed at sentencing:
         not guilty
                                                    Other:
    Initial Pretrial Conference
                                                                                             Presentence Report:
    Detention         (waived   )                                                                   Ordered      Waived
    Preliminary    (waived      )                Court to Issue:                                 Plea Accepted by the Court
    Rule 5 Proceeding                               Report & Recommendation
                                                                                                 No Written Plea Agreement
    Revocation/SRV/PV                               Order of Detention
                                                    Order to file IPTC Statements
    Bond Violation                                                                                 EXPEDITED RESOLUTION
                                                    Bindover Order
    Change of Plea                                  Order Appointing Counsel                     Case appears appropriate for
    Sentencing                                      Other:                                       expedited resolution
    Other:

                 ADDITIONAL INFORMATION                                                         SENTENCING
Defendant advised of his rights, the charges and penalties. The           Imprisonment:
Government was given the Brady notice.                                    Probation:
                                                                          Supervised Release:
Defendant will remain detained pending detention hearing on the
                                                                          Fine: $
Government's motion to detain and a preliminary hearing.
                                                                          Restitution: $
                                                                          Special Assessment: $
                                                                          Plea Agreement Accepted:             Yes    No
                                                                          Defendant informed of right to appeal:         Yes    No
                                                                          Counsel informed of obligation to file appeal:  Yes   No


                  CUSTODY/RELEASE STATUS                                              BOND AMOUNT AND TYPE

Detained                                                              $

CASE TO BE:                                                           TYPE OF HEARING:

Reporter/Recorder:          Digitally Recorded                        Courtroom Deputy:          C. Moore
